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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF ILLINOIS
                                         EASTERN DIVISION

POW! ENTERTAINMENT, LLC,                                   )
                                                           )   Case No.: 20-cv-1093
                                                           )
                                                           )   Judge Matthew F. Kennelly
                 Plaintiff,                                )
                                                           )
v.                                                         )
                                                           )
THE INDIVIDUALS, CORPORATIONS,                             )
LIMITED LIABILITY COMPANIES,                               )
PARTNERSHIPS AND UNINCORPORATED                            )
ASSOCIATIONS IDENTIFIED ON                                 )
SCHEDULE A HERETO,                                         )
                                                           )
                 Defendants.                               )

                         PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

         Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff POW!
ENTERTAINMENT, LLC, hereby dismisses with prejudice all causes of action in the complaint against
the following Defendants identified in Schedule A. Each party shall bear its own attorney’s fees and
costs.


No.       Defendant                                   No.        Defendant
3         Chenkaili157                                72         Linweiguo189068
4         dengdengdadad                               75         Hope is a species of happiness
5         qiumaodan548                                76         maomodingzhi
7         Zhangyanling8906                            81         xiuqiinbhao
8         zhuifengqishou                              85         Zhouminhua68
12        tanqiuyan                                   89         luoxiufennika
16        jiapenggao                                  93         gaofuwei
17        zhaolilihong                                94         lilonggang908906
27        haizixuxu                                   96         zhangzhijie
29        xnoopjiccn                                  97         aishenghuohexie
32        Zphoenix clothes                            98         henghenghahashenghuo
34        wangyulu1996                                142        eleven88
39        yangxufa134                                 143        Exciting Little Farm
40        yaojian999888666                            145        feiwan
45        eqwpoxnxa                                   146        FENGHUAZHENGMAODE
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156      guoweiweiguo                                  175       Jiangyan1890608
160      haowuyidejiangjia                             176       juanshuiliu
161      Haugnguiwu89606                               182       Linping1907
162      heqiyoude                                     184       liukesong
164      hjkqpcxnn                                     191       luoting879
165      hoututaoju                                    195       mingweifengdu
170      HXNI


        The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.
                                         Respectfully submitted,
Dated: May 13, 2020                      By:      s/Michael A. Hierl             _
                                                  Michael A. Hierl (Bar No. 3128021)
                                                  William B. Kalbac (Bar No. 6301771)
                                                  Hughes Socol Piers Resnick & Dym, Ltd.
                                                  Three First National Plaza
                                                  70 W. Madison Street, Suite 4000
                                                  Chicago, Illinois 60602
                                                  (312) 580-0100 Telephone
                                                  mhierl@hsplegal.com

                                                  Attorneys for Plaintiff
                                                  Pow! Entertainment, LLC
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                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on May 13, 2020.


                                                          s/Michael A. Hierl
